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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


DONNA CURLING, et al.,                  :
                                        :
                                        :
       Plaintiffs,                      :
                                        :
v.                                      :         CIVIL ACTION NO.
                                        :         1:17-CV-2989-AT
BRIAN KEMP, et al.,                     :
                                        :
                                        :
       Defendants.                      :


                                    ORDER

      This matter is before the Court on the Joint Notice of Parties in Advance of

Hearing [Doc. 282] and Plaintiffs’ Joint Supplemental Submission [Doc. 283].

Both filings relate to the hearing scheduled on September 12, 2018. The Court has

currently allotted 3.5 hours for the hearing, which includes one hour for each side

(i.e., all Plaintiffs on one side and all Defendants on the other side) to present

testimony or other evidence regarding Plaintiffs’ motions for preliminary

injunction. (See Doc. 280.)

      In the Joint Notice, the parties identify all potential live witnesses and

estimate the time needed for direct examination and cross examination of each

witness. Separately, in their Joint Supplemental Submission, Plaintiffs explain

why they believe they need an additional hour – for a total of two hours instead of
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one hour – to present live testimony and to also conduct closing arguments. The

State Defendants represent that they believe additional time is unnecessary.

       Upon review, the Court determines that additional time is warranted for the

September 12th hearing. The Court also notes that both sides – not just Plaintiffs

– have estimated needing more than the one hour of allotted time to present their

witnesses.1 Accordingly, the Court sets forth the following revised schedule for the

hearing:

    Party                    Subject Matter or Witness2                      Time
                                                                             (in minutes)
    All Plaintiffs           Arguments on immunity, standing,                15
                             and res judicata and collateral
                             estoppel
    All Defendants           Arguments on immunity, standing,                15
                             and res judicata and collateral
                             estoppel
    All Plaintiffs           Opening arguments on the motions                25
                             for preliminary injunction
    All Defendants           Opening arguments on the motions                25
                             for preliminary injunction
    Coalition                Direct and cross examination of                 30
    Plaintiffs               Richard A. DeMillo
    Coalition                Direct and cross examination of                 20
    Plaintiffs               Michael Barnes
    Curling Plaintiffs       Direct and cross examination of Alex            30
                             Halderman
    Curling Plaintiffs       Direct and cross examination of Chris           30
                             Harvey
    Curling Plaintiffs       Direct and cross examination of                 25
                             Richard Barron
    State Defendants         Direct and cross examination of                 25
                             Rebecca Sullivan

1 The parties provided time range estimates for each witness, and the Court uses the maximum
estimated time per witness to get a realistic sense for the total time the parties may need at the
hearing.
2 The Court has adopted the parties’ estimated times for presenting each witness as indicated in

their Joint Notice.

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    State Defendants     Direct and cross examination of            60
                         Cathy Cox
    Fulton County        Direct and cross examination of            20
    Defendants           Cecilia Houston
    N/A                  Lunch break                                60
    All Plaintiffs       Closing arguments on the motions for       15
                         preliminary injunction
    All Defendants       Closing arguments on the motions for       15
                         preliminary injunction
    TOTAL                                                           410

This revised schedule allots approximately 7 total hours for the hearing. The Court

also notes that it has already rescheduled the hearing to begin at 10:00 A.M. on

September 12, 2018 (instead of at 11:00 A.M. as originally scheduled).

      The Court emphasizes that all parties shall be diligent about keeping time

and adhering to the time estimates set forth in this Order. If the hearing is running

long, the Court may determine that closing arguments are not necessary or that the

time for testimony or arguments must be reduced. Additionally, any time spent

answering the Court’s questions – either during counsel’s arguments or during

witness testimony – shall be included in the time allotted above.

      IT IS SO ORDERED this 10th day of September, 2018.



                                       _____________________________
                                       Amy Totenberg
                                       United States District Judge




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